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                  Exhibit 5
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

      MICHELLE MARINO, DEBORAH
      ESPARZA, MONICA RAEL, and
      CERA HINKEY, on behalf of                          CASE NO.:
      themselves and all others similarly                1:16-cv-01122-VEC (OTW) (Lead)
      situated,

                      Plaintiffs,                        Consolidated Member Case Nos.:

        v.                                               1:16-cv-03773-VEC (OTW)
                                                         1:16-cv-03677-VEC (OTW)
      COACH, INC.,                                       1:16-cv-05320-VEC (OTW)
                      Defendant.



                         DECLARATION OF CHARLES J. LADUCA

       I, Charles J. LaDuca, declare as follows:

       1.      I am Firm Chairman of Cuneo Gilbert & LaDuca, LLP (“CGL”), one of the firms

of record for Plaintiffs and the Proposed Class.

       2.      I am one of the attorneys principally responsible for the handling of this matter at

my firm. I am personally familiar with the facts set forth in this declaration. If called as a

witness I could and would competently testify to the matters stated herein. I make this

declaration.

       3.      CGL has devoted the majority of its practice to the representation of clients

involved in consumer protection, products liability, antitrust, securities and corporate governance.

The firm has achieved success for a range of clients by: working to recover hundreds of millions

of dollars for homeowners with defective construction materials; helping to recover billions of

dollars in shareholder litigation (notably, the firm served as Washington counsel for the plaintiffs


                                                   1
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in the Enron Securities Litigation, In re Enron CoYp. Sec. Litig., No. H-01-3624 (S.D. Tex. 2006));

obtaining compensation for Holocaust survivors (see Rosner, et al. v. United States, No. O1-cv-

1859 (S.D. Fla.), the firm acted as Co-Lead Counsel in a case on behalf of survivors of the

Holocaust in Hungary whose fortunes were misappropriated by the U.S. government in the final

days of World War II); and, in several jurisdictions, ending the practice of jails subjecting minor

law violators to unconstitutional strip searches. In addition, in 1991, with two California firms, the

firm brought the so-called "Joe Camel" case, Mangini v. RJ Reynolds Tobacco Co., 7th Cal. 4th

1057 (1994), which alleged essentially that R. J. Reynolds Tobacco Company's Joe Camel

Advertising Campaign illegally tricked children into smoking cigarettes. Attached is a true and

correct copy of the firm resume for CGL, which reflects the experience and accomplishments of

the firm.

       4.      I am a member in good standing of the State Bar of New York and the District of

Columbia, and I have never been the subject of any type of disciplinary proceeding. I am admitted

to practice before the New York State Court of Appeals, U.S. Supreme Court, U.S. Court of

Appeals (DC, Second, Third, Sixth and Ninth Circuits), U.S. District Court, Colorado, U.S. District

Court, District of Columbia, U.S. District Court, C.D. Illinois, U.S. District Court, W.D. Michigan,

U.S. District Court, N.D.N.Y., U.S. District Court, W.D.N.Y., and the U.S. District Court,

S.D.N.Y.

       5.      I have been admitted to practice since June 26, 2001. My practice has been

devoted to the prosecution of class actions on behalf of Plaintiffs. I have served as lead counsel

and co-lead counsel in numerous class action and multidistrict litigation (“MDL”) cases. The

cases I have prosecuted include consumer protection claims similar to the ones brought in this



                                                  2
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action. Examples are: In re: CertainTeed Corp. Roofing Shingle Products Liability Litig., MDL

No. 1817 (E.D.Pa.) (defective organic shingles litigation, firm served as Co-lead Counsel in the

MDL); In re Building Materials Corp. of America Asphalt Roofing Shingle Prods. Liab. Litig.,

MDL No. 2283 (D.S.C.) (Co-Lead Counsel); In re: Kitec Plumbing System Products Liability

Litig., MDL No. 2098 (N.D. Tex.) (Co-Lead Counsel); In re Zurn Pex Plumbing Litig., MDL

No. 1958 (D. Minn.); In re Uponor, Inc. FI807 Plumbing Prods. Liab. Litig., MDL No. 2247 (D.

Minn.) (Chair of the Executive Committee); In re: CertainTeed Fiber Cement Siding Litig.,

MDL No. 2270 (E.D. Pa.); In re IKO Roofing Shingle Products Liability Litig., MDL No. 2104

(M.D. Il.) (Chair of the Executive Committee); In re: HardiPlank Fiber Cement Siding Litig.,

MDL No. 2359 (D. Minn.); and Melillo, et. al. v. Building Products of Canada, Case No. 618-11

(Vermont St. Ct.).

       6.      CGL’s lodestar and expenses in this case are reflected in the below chart. The

time records were entered consistently and contemporaneously.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on January 11, 2021, in Bethesda, Maryland.

                                                    s/ Charles J. LaDuca
                                                    Charles J. LaDuca




                                                3
                                 DECLARATION OF CHARLES J. LADUCA
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                                Current       Current     Current
     Name                        Hours         Rate       Lodestar

     Charles LaDuca                  41.50     $850        $35,275.00
     Brendan Thompson                11.25     $700         $7,875.00
     Beatrice Yakubu                 86.00     $675        $58,050.00
     Matthew Prewitt                 18.00     $550         $9,900.00
     Taylor Asen                      0.25     $550          $137.50
     Benjamin Elga                   16.25     $450         $7,312.50
     Attorney Totals                 173.25              $118,550.00


     John Yuill                       0.25     $225            $56.25
     Benjamin Apelbaum                1.00     $175          $175.00
     Melisa Azak                      6.50     $175         $1,137.50
     Alexandra Peck                   3.50     $175          $612.50
     Marie Schenk                     2.00     $175          $350.00
     Billy Czerwinski                 1.50     $50             $75.00
     Non-Attorney Totals             14.75                  $2,406.25


     Totals                          188.00              $120,956.25


                                                         Cumulative
                                                          Expenses
       Meals, Hotels and Transportation                    $1,763.06
       Messenger. Express Mail, Postage                     $375.34
       Westlaw/Lexis-Nexis/PACER research                    $18.10
       Expert Fees                                        $1,014.68
       Filing Fees/Process Service                        $1,063.00
       Miscellaneous – Samples / Courtcall                  $212.98
                                                 Total    $4,447.16




                                       4
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                 Exhibit A
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                       CUNEO GILBERT & LADUCA, LLP
                                          FIRM PROFILE

We specialize in civil litigation in federal and state courts, including general commercial practice,
antitrust, civil rights, government relations, products liability, administrative, securities, labor, and
consumer law.

With a proven track record of winning in court and in Congress, we have represented and served
clients since 1988 on issues of broad significance. Neither a mega-firm with 200 plus attorneys, nor
a small firm with limited expertise, we are instead a group of twenty plus lawyers who together have
over 300 years of experience going to court to right wrongs. We specialize in representing
individuals and businesses that have been victims of antitrust violations, faulty products, civil rights
violations, and securities fraud.

TRIAL AND APPELLATE
Cuneo Gilbert & LaDuca attorneys are experienced advocates. Between them, our attorneys have:

    •   conducted numerous trials, the most recent of which resulted in a $113 million verdict on
        behalf of our clients;

    •   argued scores of contested motions in state and federal court and conducted quasi-
        adjudicative, administrative, and arbitral proceedings resulting in a final adjudication;

    •   argued appeals in many federal circuit courts of appeal, including two en banc
        arguments;

    •   argued appeals in many states;

    •   testified before Congress, state legislatures or federal or state administrative bodies at
        least 60 times; and

    •   appeared in many cases before the United States Supreme Court.

GOVERNMENT SERVICE
Cuneo Gilbert & LaDuca attorneys have held positions of trust in state or federal governments,
including:

    •   One was Solicitor to the House of Representatives and Assistant Counsel to the Senate;

    •   One was the Executive Director of a Federal agency, the highest staff position;

    •   Two were Section Chiefs of the United States Department of Justice;

    •   Three were Assistant US attorneys and one was a public defender; and

    •   Two were Counsel to Congressional Committees.
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ACADEMIC ACHIEVEMENTS/CLERKSHIPS
Cuneo Gilbert & LaDuca attorneys have strong academic qualifications, and many were judicial
clerks or interns. Of our attorneys:

   •   Eight were law review members or editors;

   •   Twelve served as judicial law clerks or interns;

   •   Three worked at the United States Court of Appeals;

   •   Five worked at United States District Courts; and

   •   Two worked for state courts.

SPEAK YOUR LANGUAGE
Cuneo Gilbert & LaDuca attorneys are diverse. Among our attorneys and staff, we speak:

   •   English

   •   Spanish

   •   French

   •   Mandarin

   •   Russian

COMMUNITY AND CHARITY
Cuneo Gilbert & LaDuca, LLP supports many charities in our community, both in the United
States and abroad. Over the past five years, CGL has contributed to organizations supporting
equal justice, centers for human rights, groups combatting hunger, medical centers and
universities in Israel, cancer research efforts, cancer survivor support, legal programs, law
schools, juvenile justice initiatives, better government, and wounded veterans of the Iraqi and
Afghanistan wars. CGL has also made a major financial commitment to help indigent clients
seek representation in the District of Columbia through the “Raising the Bar” campaign of the
D.C. Access to Justice Project.
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                                          ATTORNEYS

Jonathan W. Cuneo, born New York, New York, September 10, 1952. Admitted to the District of
Columbia Bar, 1977; New York Bar, 2006. Admitted to practice before the United States Supreme
Court, 1994; United States Court of Appeals for the First Circuit, 2006; United States Court of
Appeals for the Second Circuit, 2007; United States Court of Appeals for the Third Circuit, 2004;
United States Court of Appeals for the Fourth Circuit, 2005; United States Court of Appeals for the
Fifth Circuit, 2009; United States Court of Appeals for the Ninth Circuit, 2007; United States Court
of Appeals for the Tenth Circuit, 2011; United States Court of Appeals for Eleventh Circuit, 2012;
United States Court of Appeals for the District of Columbia Circuit, 1978; United States District
Court for the Eastern District of Michigan; United States District Court for the Eastern District of
New York, 2006; United States District Court for the Southern District of New York, 2006; United
States District Court for the Northern District of New York, 2002; United States District Court for
the District of Columbia, 1978. Education: Columbia University (A.B., 1974); Cornell University
(J.D., 1977). Experience: Law clerk to the Honorable Edward Tamm, United States Court of
Appeals, District of Columbia Circuit (1977-1978); Attorney, Office of the General Counsel, Federal
Trade Commission (1978-1981); Assistant Counsel and Counsel, Subcommittee on Monopolies and
Commercial Law, House Committee on the Judiciary (1981-1986); General Counsel, Committee to
Support the Antitrust Laws (1986 - 2004); Legislative Counsel, National Association of Shareholder
and Consumer Attorneys (1988-2004); Legislative Counsel, National Coalition of Petroleum
Retailers and Service Station Dealers of America (1988-1994). Activities: Arlington County
Democratic Committee (1983-1987); Board Member, Juvenile Law Center (2009-2015); Board
Member, American Antitrust Institute (1998-2009); Board Member, Violence Policy Center (1999-
2009); Board Member, Appleseed Legal Foundation (1999-2005). Honors: Alfred E. Kahn Award
for Antitrust Achievement (2017); Rated by Martindale-Hubbell as AV® Preeminent™; Listed in
Marquis “Who’s Who in America”; Dean’s Board of Advisors, The George Washington University
Law School (2012-2015); Finalist, 2006 Trial Lawyer of the Year, Public Justice. Publications:
Judge Tamm and the Evolution of Administrative Law: The Art of Judging, 74 GEORGETOWN L.J.
1595 (1986); Pulling the Plug on Antitrust Law (with Jerry Cohen), THE NATION (1987); House
Takes Up Cause of Discounters, LEGAL TIMES, Vol X, No. 30 (1987); Supreme Court's “Sharp”
Ruling Means Higher Prices, Fewer Choices for Consumers, MANHATTAN LAWYER (1988);
Chapter, Consumer Protection -- Federal Trade Commission, CHANGING AMERICA: BLUEPRINTS
FOR THE NEW ADMINISTRATION (edited by Mark Green) (1992); Antitrust and Clinton: Changes on
the Horizon, THE CALIFORNIA LAWYER (1993); Action on Class Actions, THE RECORDER (1997); The
Gold Train Case: Successfully Suing the United States on Behalf of a Class of Holocaust Era
Victims (with Professor Charles Tiefer), 27 CLASS ACTION REPORTS 139 (2006); THE
INTERNATIONAL HANDBOOK OF PRIVATE ENFORCEMENT OF COMPETITION LAW (with Albert A. Foer)
(Edward Elgar Publishing Inc., 2010). Remediation and Deterrence: The Real Requirements of the
Vindication Doctrine, 82 Geo. Wash. L. Rev. Arguendo 59 (2013). Guest Lecturer: Southwestern
Law School, 1997 and 1998; numerous appearances in CLE programs in the United States and
Canada; District of Columbia Judicial Conference (2007). Member: American Bar Association;
District of Columbia Bar Association; American Association for Justice.

Pamela B. Gilbert, born New Brunswick, New Jersey, October 3, 1958. Admitted to the New York
Bar, 1985 (inactive); District of Columbia Bar 1986. Admitted to practice in D.C. Education: Tufts
University (B.A., magna cum laude, 1980); New York University (J.D., 1984). Experience:
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Consumer Program Director, United States Public Interest Research Group (1984-1989); Legislative
Director, Executive Director, Public Citizen’s Congress Watch (1990-1992; 1992-1994); Attorney,
M+R Strategic Services (1995); Executive Director, Consumer Product Safety Commission (1996-
2001); Chief Operating Officer, M+R Strategic Services (2001-2002). Honors and Activities: Board
Chair, American Antitrust Institute (2010 - ); Board Member, Project on Government Oversight
(2016 - ); Past member of the Board of Directors, National Environmental Law Center (2006 -
2016); Past member of Board of Directors, Equal Justice Works (2004 - 2012). Publications:
PRIVATE ENFORCEMENT OF THE ANTITRUST LAWS IN THE UNITED STATES (edited by Albert A. Foer
and Randy M. Stutz), “Proposals for Reform,” written with Victoria Romanenko. Member: New
York Bar Association; District of Columbia Bar Association; American Bar Association; American
Association for Justice; Public Justice; Consumer Attorneys of California.

Charles J. LaDuca, born Buffalo, New York, September 30, 1974. Admitted to the New York
State Bar, 2001; District of Columbia Bar, 2002; United States Supreme Court, 2009; United States
Court of Appeals for the Second Circuit, 2007; United States Court of Appeals for the Third Circuit,
2004; United States Court of Appeals for the Sixth Circuit, 2012; United States Court of Appeals for
the Ninth Circuit, 2011; United States Court of Appeals for the District of Columbia Circuit, 2013;
United States District Court for the Northern District of New York, 2002; United States District
Court for the Western District of New York, 2004; United States District Court for the Southern
District of New York, 2013; United States District Court for the District of Columbia, 2002; United
States District Court for the Central District of Illinois, 2009; United States District Court for the
District of Colorado, 2008; United States District Court for the Western District of Michigan, 2010.
Education: George Washington University (B.A., 1996); Catholic University of America (J.D.,
2000). Member: District of Columbia Bar Association (Corporation, Finance and Securities Law
Section); New York State Bar Association; New York State Society.

Joel Davidow, born Trenton, New Jersey, July 24, 1938. Admitted to the Bar in the District of
Columbia, 1965; New York Bar, 1981; Court Admissions: U.S. Supreme Court, U.S. Court of
Appeals (D.C., Ninth, First and Federal Circuits), U.S. District Court, S.D. N.Y., U.S. District Court,
E.D. N.Y. Education: Columbia University School of Law (LLB, cum laude, 1963); Princeton
University, Woodrow Wilson School of Public Affairs (B.A., summa cum laude, 1960). Experience:
Notes editor of the Columbia Law Review and the winner of the National Jessup Moot Court
Competition; Two years in the U.S. Federal Trade Commission; Fifteen years in Antitrust Division
of the Department of Justice, where he eventually served as Chief of the Foreign Commerce Section
and then Director of Policy and Planning; Senior antitrust partner in major New York City and
Washington, D.C. law firms, representing clients from Japan, Europe, and the United States, as both
plaintiffs and defendants, in antitrust, patent, and trade litigation matters; Counsel of record in
numerous antitrust class actions and has briefed and argued multi-million dollar appeals before the
First, Second, Seventh, Ninth and Federal Circuit courts of appeal. Publications: ANTITRUST GUIDE
FOR INTERNATIONAL BUSINESS ACTIVITIES (BNA, 4th ed. 2011); PATENT-RELATED MISCONDUCT
ISSUES IN U.S. LITIGATION (OUP, 2010); and numerous articles dealing with international antitrust
and patent litigation topics. Adjunct Professor: George Washington University School of Law,
Columbia Law School, Georgetown Law Center, American University Law School, and George
Mason University Law School, where he has taught courses in antitrust, regulation, and international
competition policy.
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Daniel M. Cohen, born Detroit, Michigan, January 24, 1958. Admitted to the Florida Bar, 1989;
District of Columbia Bar, 2001; Maryland State Bar, 2003; Virginia State Bar, 2010. Admitted to
practice before the United States District Court for Maryland, 2002; United States District Court for
the Middle District of Florida, 2003; United States District Court of District of Columbia, 2008;
Eastern District of Virginia, 2010; Western District of Virginia, 2010; Southern District of Florida,
2013. Education: Ithaca College (B.A., 1981); Wes tern New England School of Law (J.D., 1988).
Experience: Criminal Defense Trial Attorney, Public Defenders Office, tried 70 jury trials,
Jacksonville Florida, 1989-1999. Member: District of Columbia Bar Association (Antitrust and
Consumer Law Section); Florida State Bar Association.

Michael J. Flannery, born January 22, 1963. Admitted to the Virginia Bar, 1991; District of
Columbia Bar, 1992; California Bar, 1998; Missouri Bar, 2001. Admitted to practice before the
United States Court of Appeals for the Third Circuit; United States Court of Appeals for the Ninth
Circuit; United States District Court for the Eastern District of Missouri, United States District Court
for the Western District of Missouri, United States District Court for the Southern District of Illinois,
United States District Court for the Northern District of Illinois, United States District Court for the
Northern District of California, United States District Court for the Southern District of California,
United States District Court for the Central District of California, United States District Court for the
Eastern District of California, and the United States District Court for the District of Columbia.
Education: University of Notre Dame (B.A., 1985); College of William and Mary Marshall-Wythe
School of Law (J.D., 1991). Honors and Awards: William and Mary Law Review (1989-91);
Publication of Student Note: “Abridged Too Far: Anticipatory Search Warrants and the Fourth
Amendment,” 32 WM. & MARY L. REV. 781 (1991) (reprinted in 14 Criminal Law Review (1992));
Teaching Assistant, William and Mary Legal Skills Program; Chief Justice, William and Mary
Honor Council; Notre Dame Scholar/Edward W. Krause Academic Scholarship. Experience:
Cohen, Milstein, Hausfeld & Toll, Washington, DC, 1994-1997; Milberg Weiss Bershad Hynes &
Lerach, San Diego, CA, 1997-2000; Carey, Danis & Lowe, St. Louis, MO, 2000-2012.

Monica Miller, born Queens, New York, May 16, 1966. Admitted to the Bar of the Commonwealth
of Massachusetts, 1992; Louisiana Bar, 1993; District of Columbia Bar, 1994. Admitted to practice
before the United States Courts of Appeals for the First Circuit, 1998, Fourth Circuit, 2010, Ninth
Circuit, 2010, Tenth Circuit, 2011, D.C. Circuit, 2012; United States District Court for the District of
Massachusetts, 1994; United States District Court for the District of the District of Columbia, 2008.
Education: Tufts University (B.A., magna cum laude, 1988); University of Virginia (J.D., 1991).
Experience: Law Clerk to the Honorable Edith Brown Clement, United States District Court for the
District of Louisiana, 1991-1993; Berman, DeValerio & Pease, Boston, MA 1994-1999; sole
practitioner, 1999-2008. Languages: French, Spanish.

Mark H. Dubester, born Washington, DC, May 17, 1955. Admitted to the District of Columbia
Bar, 1980; Member of the United States District Court for the District of Columbia. Education:
Tufts University (B.A., magna cum laude, 1977); New York University School of Law (J.D.,
1980). Experience: Trial Attorney, United States Department of Justice, Antitrust Division
(AT&T case) (1980-1983); Assistant United States Attorney, United States Attorneys Office for
the District of Columbia (60 jury trials) (1983-2007); Counsel for the Committee and Special
Impeachment Counsel, House Committee on the Judiciary (2007-2010); Deputy Chief
Investigative Counsel, Special Inspector General for the Troubled Asset Relief Program
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(SIGTARP) (2011-2012); Associate General Counsel/Prosecutor, Special Inspector General for
Afghanistan Reconstruction (SIGAR) (2012-2017).

Alexandra C. Warren, born Bucharest, Romania, October 9, 1977. Admitted to the Florida Bar,
2016; New York Bar, 2003 (retired); Massachusetts Bar, 2003 (retired); Pennsylvania Bar, 2004
(retired); District of Columbia Bar, 2007 (retired). Admitted to practice before the United States
District Court for the Eastern District of Pennsylvania, 2005; United States District Court for the
Western District of Pennsylvania, 2007; United States District Court for the District of Columbia,
2007; United States District Court for the Middle District of Pennsylvania, 2009; United States
District Court for the Western District of Michigan, 2010; United States District Court for the
District of Massachusetts, 2012; United States Court of Appeals for the Third Circuit, 2009; United
States Court of Appeals for the Fifth Circuit, 2009; United States Court of Appeals for the Ninth
Circuit, 2011; United States Supreme Court, 2009. Education: Brandeis University (B.A., cum
laude, 1999); Fordham University Law School (J.D., 2002) (Fordham Environmental Law Journal,
Staff). Honors: Archibald R. Murray Public Service Award (2002); Addison M. Metcalf Labor
Law Prize (2002). Experience: Law Clerk to the Honorable John E. Jones III, United States District
Court for the Middle District of Pennsylvania (2002-2004); Associate, MacElree Harvey, Ltd. (2004-
2006). Member: Florida Bar Association.

C. William Frick, born in Silver Spring, Maryland. Admitted to the District of Columbia Bar;
Maryland Bar; United States District Court for the District of Maryland; United States District Court
for the District of Columbia. Education: Northwestern University (B.A. 1997); Harvard Law School
(J.D., 2000). Experience: Counsel, Akin Gump; State Legislator, House Parliamentarian, and House
Majority Leader, Maryland General Assembly. Affiliations: Maryland Bar Association; District of
Columbia Bar Association.

Katherine W. Van Dyck, born Corpus Christi, Texas, July 4, 1979. Admitted to the Texas Bar,
2004; District of Columbia Bar, 2008. Admitted to practice before the United States District Court
for the Northern District of Texas, 2006; United States District Court for the District of Columbia,
2008; United States District Court for the District of Colorado, 2014; United States District Court for
the Central District of Illinois, 2018; United States Court of Appeals for the Fourth Circuit, 2009;
United States Court of Appeals for the Tenth Circuit, 2015; United States Court of Appeals for the
Seventh Circuit, 2016. Education: Texas Christian University (B.A. 2001); Texas Tech University
Law School (J.D., 2004). Texas Tech Law Review - Articles Editor, Outstanding Third Year Editor,
Outstanding Second Year Editor (2002-2004) Experience: Law Clerk to the Honorable Hayden W.
Head, Jr., United States District Court for the Southern District of Texas (2004-2006); Associate,
Fee, Smith, Sharp & Vitullo, LLP (2006-2007); Associate, Griffith & Wheat, LLP (2008-2012).
Affiliations: Member, Texas Christian University DC Alumni Board; American Association for
Justice Seminar Faculty Member, Trying the Class Action: Practical Tips from the Pros.

Jennifer E. Kelly, born Elmira, New York, July 7, 1975. Admitted to the Maryland Bar, 2007,
District of Columbia Bar, 2008, U.S. District Court for the District of Columbia, 2012. Education:
Boston University (B.A., cum laude, 1997), American University (J.D., cum laude, 2007; highest
grade designation, Wills, Trusts, & Estates). Experience: Internship, Parliament of Great Britain
(1995); Internship, District of Columbia Corporation Counsel (1996); Legislative Assistant, Office
of Senator Robert C. Byrd (1998-2002); American University Civil Practice Clinic (Oral Argument
before the Maryland Court of Special Appeals and Maryland District Court Small Claims Trial)
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(2006); Associate, Bracewell & Giuliani, LLP (2007-2009) (Paralegal, 2003-2007); Volunteer
Attorney, American Red Cross (2010-2011). Member: American Bar Association.

Brendan S. Thompson, born Buffalo, New York, February 21, 1974. Admitted to the
Maryland Bar, 2008; Admitted to practice before the United States District Court for the District of
Colorado, 2008; United States District Court for the Central District of Illinois, 2008; United States
Court of Appeals for the Ninth Circuit, 2011. Education: University of Detroit (B.S., 1997); visiting
student, George Mason Law School; University of Baltimore Law School (J.D., 2008). Experience:
Student Internships: Congressman Brian Higgins (D-NY) (2007); Chambers of the Honorable
LeRoy F. Millett Jr., Circuit Court for the 31st Judicial Circuit of Virginia (2006); The
Commonwealth’s Attorney’s Office for Prince William County, Virginia (2005). Member: Maryland
State Bar Association, Bar Association of Baltimore City, American Bar Association; New York
State Society.

Victoria R. Sims, born Kiev, Ukraine, April 8, 1983. Admitted to the Maryland Bar, 2009; the
District of Columbia Bar, 2012. Education: Catholic University, Columbus School of Law (J.D.,
2009); Brandeis University (B.A., with honors, 2006). Experience: Worked at a Washington D.C.
firm engaging in antitrust and telecommunications litigation (2009-2011). Law Clerk at U.S.
International Trade Commission (2009) (antidumping, countervailing duties, Section 337). Law
Clerk at Department of Labor (2008) (Occupation Safety and Health Division). Law Clerk at
District of Columbia Office of the Attorney General (2007) (Civil Enforcement Section). Ms. Sims
was also nominated for the 2009 Jan Jancin award upon her completion of law school. This
nomination is given to the student with the highest Intellectual Property GPA in the graduating class.
Ms. Sims is the recipient of the American Antitrust Institute’s Outstanding Litigation Achievement
by a Junior Lawyer Award (2017), for her work in the Automotive Parts Antitrust Litigation, 12-md-
02311. Publications: Remediation and Deterrence: The Real Requirements of the Vindication
Doctrine, 82 Geo. Wash. L. Rev. Arguendo 59 (2013); PRIVATE ENFORCEMENT OF THE ANTITRUST
LAW IN THE UNITED STATES (edited by Albert A. Foer and Randy M. Stutz) (2012), Chapter,
Proposals for Reform, co-authored with Pamela Gilbert. Ms. Sims has a working knowledge of
Russian and French.

Yifei Li, born Wuhan, China, February 15, 1988. Admitted to the New York State Bar, 2013; United
States Court of Appeals for the Second Circuit, 2013; United States Court of Appeals for the District
of Columbia Circuit, 2013; United States Court of Federal Claims, 2013; United States District
Court for the Eastern District of Michigan, 2013; United States District Court for the Eastern District
of New York, 2013; United States District Court for the Southern District of New York, 2013.
Education: The George Washington University Law School (LL.M., 2011); Beijing Foreign Studies
University Law School (LL.B., B.A., Scholarship Recipient, 2010). Experience: Judicial Intern to
the Honorable Chief Judge Randall R. Rader at U.S. Court of Appeals for the Federal Circuit (2012-
2013). Legal Intern at Federal Circuit Bar Association (2011-2012). Law Clerk at Jingtian &
Gongcheng Attorneys At Law (2009). Judicial Intern at People’s Court of Jiang’An District (2007).
Member: New York State Bar Association; American Bar Association. Ms. Li is a native speaker of
Chinese (Mandarin).

A. Blaine Finley, born Houston, Texas, January 15, 1988. Admitted to the New Jersey Bar, 2014;
New York Bar 2015; District of Columbia Bar, 2017. Admitted to practice before the United States
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District Court for the District of New Jersey, 2014; United States District Court for the Eastern
District of New York, 2015; United States District Court for the Southern District of New York,
2015. Education: Columbia Law School (J.D., 2014); Princeton University (A.B., 2011). Experience:
Associate, Brower Piven, A Professional Corporation (2014-2016).

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1984) (successful prosecution of a drunk driver who killed a mother of 11 for second-degree
murder); U.S. v. Winstar (U.S. Sup. Ct. 1996) (holding that even the requirements of a broad change
in regulatory policy by Congress cannot excuse the federal government's breach of contract); U.S. ex
rel. Ubl v. IIF Data Solutions (E.D. Va. 2009) (successful defense of a government contractor
accused of violating the False Claims Act in a bet-the-company case); Livingston v. Virginia Dept. of
Transportation (Va. Sup. Ct. 2012) (establishing that a damaging for public use does not need to rise
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to the level of a taking to qualify for just compensation under the Virginia Constitution); Settle v.
RGR, (Prince William Cir. Ct. 2012)(over $3 million jury award for the widow of a truck driver
killed in a collision with a train). Publications: Dumping on Federalism, 75 U. COLO. L. REV. 1261
(2004); The Changing Vocabulary of Administrative Law, 43 FOOD DRUG COSM. L.J. 681 (1988);
“Buck v. Bell: ‘Felt Necessities’ v. Fundamental Values?” 81 COLUM. L. REV. 1418 (1981).
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HOW THE BUSH ADMINISTRATION SUBVERTS THE LAW FOR CONSERVATIVE CAUSES (U. Cal.
Berkeley, 2004); GOVERNMENT CONTRACT LAW: CASES AND MATERIALS (co-author) (Carolina
Academic Press, 2d ed., 2004); THE SEMI-SOVEREIGN PRESIDENCY (Westview, 1994);
CONGRESSIONAL PRACTICE AND PROCEDURE (Greenwood Press, 1989); Congress’s Transformative
“Republican Revolution” in 2001-2006 and the Future of One-Party Rule, J. L. & POL. OF U. VA.
(2008); The Iran Debacle: The Rise and Fall of Procurement-Aided Unilateralism as a Paradigm of
Foreign War, UNIV. PENN. J. INT’L ECON. LAW (2008); Can Appropriation Riders Speed Our Exit
From Iraq? 42 STAN. J. INT’L L. 291 (2006); The Gold Train Case: Successfully Suing the United
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Ohio State University (B. Mech. Engr., 1966); The George Washington University (J.D., 1970;
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Personal Liability for Patent Infringement, 7 IP Litigator 11 (2001); “Lotus v. Borland-Copyright
Protection of Computer Software in a State of Transition,” Copyright World, 1995. Member:
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